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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                            CASE NO. 5:13-00143-ACC-PRL

 LARRY KLAYMAN,

       Plaintiff,

 vs.

 VOICE MEDIA GROUP,
 CITY PAGES,
 PHOENIX NEW TIMES,
 AARON RUPAR,
 MATTHEW HENDLEY,
 and KEN AVIDOR,

       Defendants.
 ______________________/




        DEFENDANTS’ DISPOSITIVE MOTION FOR SUMMARY JUDGMENT




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        Defendants, pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, move for the

 entry of summary judgment in their favor, and against Plaintiff, on each count of the Third

 Amended Complaint (“3AC”) [ECF No. 52]. The grounds for this Motion are:

       I.      MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE ISSUE.

        Plaintiff has stipulated that he is a “public figure” for the purposes of the First Amendment

 (Deposition of Larry Klayman (Exhibit 1), p.114, l.14 – p.115, l.4). 1

        During the course of child custody and support proceedings in Ohio between Plaintiff and

 his former spouse, the presiding magistrate judge entered an Order detailing, among other things,

 allegations that Plaintiff inappropriately touched his son's genitals; allegations that Plaintiff had

 his daughter wash his genitals; allegations that Plaintiff kissed his son “all over” while the boy was

 in the bathtub and that Plaintiff “played with [the boy’s] privates;” the children’s pediatrician

 contacted a child welfare agency to report allegations of sexual abuse; allegations that one of

 Plaintiff's female friends took Plaintiff's nine year old daughter to a lingerie store and purchased

 thong underwear for the daughter, which Plaintiff encouraged his daughter to wear; Plaintiff's

 complete lack of credibility; and state and federal judges’ findings that Plaintiff has acted with

 complete disregard for the judicial process (Exhibit 2, pp. 13-15, 21-24, 77-78, 85-87). 2

        The magistrate judge addressed Plaintiff’s arguments that, among other things, he passed

 a polygraph examination, that a social worker’s determination that sexual abuse was “indicated”

 was subsequently changed to “unsubstantiated,” and that the district attorney did not present a case

 to the grand jury; and the magistrate judge explained why he was not persuaded by those arguments


 1
   The exhibits referred to in this Motion are attached to Defendants’ Notice of Filing, which was
 filed contemporaneously with this Motion.
 2
   This order, and the other orders entered by Ohio courts that are cited in this Motion, have been
 certified by the respective clerks’ offices as true and correct copies of the originals of the
 documents that were filed in and are kept by the clerks’ offices. See, e.g., Fed.R.Evid. 901(7) and
 902(1)(A) & (4).
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 (Id., pp. 17-21). The magistrate judge found, among other things, that Plaintiff’s former spouse

 did not fabricate the allegation that Plaintiff touched his son’s genitals and that the boy “uttered

 the words” on his own (Id., p. 89).

        The trial judge rejected Plaintiff’s objections to the magistrate judge’s order, and adopted

 the order without modification (Exhibit 3). The appellate court affirmed, writing: “the magistrate

 judge heard evidence from the children’s pediatrician who reported allegations of sexual abuse to

 children services, and from a social worker who found that sexual abuse was ‘indicated,’” and

 Plaintiff “refused to answer any questions, repeatedly invoking his Fifth Amendment rights, about

 whether he inappropriately touched the children. ‘Even more disturbing’ to the magistrate was the

 fact that Klayman would not even answer the simple question regarding what he thought

 inappropriate touching was,” and “After reviewing the record, we find no abuse of discretion on

 the part of the trial court in overruling Klayman’s objections regarding the magistrate’s finding

 that Klayman inappropriately touched the children” (Exhibit 4, ¶¶25-27). The appellate court also

 rejected Plaintiff’s argument that the magistrate’s order should be set aside because the magistrate

 was biased against Plaintiff (Id., ¶¶18-22). The Ohio Supreme Court declined to accept jurisdiction

 over Plaintiff’s attempt to further appeal (Exhibit 5).

        Plaintiff was the subject of disciplinary proceedings by the Florida Bar. According to the

 Report of Referee, a former client filed a grievance with the Florida Bar "alleging that [Plaintiff]

 had had (sic) failed to provide services in her criminal case after she paid him a $25,000 retainer"

 (Exhibit 6, p. 2). Plaintiff and the former client entered The Florida Bar Grievance Mediation

 Program, and Plaintiff agreed to pay her $5,000 (Id., pp. 2-3). Plaintiff violated the agreement by

 failing to make full payment, which resulted in the opening of additional disciplinary proceedings

 relating to Plaintiff's violation of the settlement agreement (Id., pp. 3-6). After the Florida Bar

 made a probable cause determination and filed a formal complaint with the Florida Supreme Court,


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 Plaintiff paid the balance owed under the settlement agreement (Id., pp. 5-6). The referee

 thereafter recommended that Plaintiff be found guilty of various ethics violations, and accepted

 Plaintiff's "Unconditional Guilty Plea and Consent Judgment for Discipline" (Id., pp. 6-7). The

 Florida Supreme Court approved the "uncontested referee's report" and reprimanded Plaintiff for

 ethics violations (Exhibit 7).

        On September 28, 2012, a post entitled “Bradlee Dean’s Attorney, Larry Klayman,

 Allegedly Sexually Abused His Own Children,” written by Defendant Aaron Rupar, was published

 on the Internet website of the City Pages newspaper (the “September 28 Article”) (ECF No. 52-1;

 Deposition of Aaron Rupar (Exhibit 8), p.58, l.17 – p.59, l.16, p.60, l.15 – p.61, l.2). The

 September 28 Article quotes the entirety of the portion of the Ohio appellate court’s opinion

 relating to touching, including the court’s statement: “After reviewing the record, we find no abuse

 of discretion on the part of the trial court in overruling Klayman’s objections regarding the

 magistrate’s finding that Klayman inappropriately touched the children” (ECF No. 52-1).

        The September 28 Article includes the following statement: "Turns out, gays aren't the

 only ones capable of disturbing, criminal sexual behavior -- apparently even conservative straight

 guys tight with Bradlee Dean can turn out to be total creeps" (Id.). Defendant Rupar relied upon

 his review and understanding of the Ohio appellate court’s opinion in writing the September 28

 Article and that statement (Rupar Depo., p.61, l.25 – p.62, l.16). Rupar used the word criminal

 because he understood the conduct described in the appellate court’s opinion to be “criminal”

 behavior (Rupar Depo., p.74, l.20 – p.76, l.20; p.78, l.4 – p.82, l.5). 3 Rupar believed that statement

 was true at the time he wrote and published it (Declaration of Aaron Rupar (Exhibit 9), ¶6).


 3
   Although Defendants have moved to exclude the testimony of Plaintiff’s putative expert witness,
 it is worth noting that the expert testified that a court finding that someone “inappropriately
 touched” a minor child sounds like child abuse (Deposition of Thomas Madden (Exhibit 10), p.75,
 l.22 – p.76, l.14; p.99, l.24 – p.101, l.2).


                                                   3
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        On February 22, 2013, a post entitled “Birther Lawyer Fighting Joe Arpaio Recall Was

 Found To Have ‘Inappropriately Touched’ Kids,” written by Defendant Matthew Hendley, was

 published on the Internet website of the Phoenix New Times newspaper (the “February 22 Article”)

 (ECF No. 52-2, Deposition of Matthew Hendley (Exhibit 11), p.98, l.22 – p.99, l.9, p.104, ll.2-9).

 The February 22 Article quotes at length from the Ohio appellate court’s opinion, including its

 statement that, “After reviewing the record, we find no abuse of discretion on the part of the trial

 court in overruling Klayman’s objections regarding the magistrate’s finding that Klayman

 inappropriately touched the children” (ECF No. 52-2; Hendley Depo., p.104, l.2 – p.105, l.17 ).

 At the time Defendant Hendley wrote and published the statement that a court found that Plaintiff

 inappropriately touched his children, he believed the statement was true because that is what the

 appellate court wrote (Hendley Depo., p.104, l.2 – p.105, l.17; Declaration of Matthew Hendley

 (Exhibit 12), ¶¶2-6).

        On June 18, 2013, a post entitled “Larry Klayman Under Investigation By The Arizona

 Bar,” written by Defendant Hendley, was published on the Internet website of the Phoenix New

 Times website (the “June 18 Article”) (ECF No. 52-3; Hendley Depo., p.71, l.15 – p.72, l.5). The

 article reports that “Klayman’s been in trouble with a Bar association before, as he was publicly

 reprimanded by the Florida Bar in 2011 for taking money from a client, and never doing any work”

 (ECF No. 52-3). In writing that portion of the June 18 Article, Defendant Hendley reviewed an

 article that was published in November 2011 in the Miami New Times newspaper, which reported

 the Florida Bar proceedings and said: “The Florida Bar has issued a public reprimand of Klayman

 for taking a $25,000 payment to represent a woman in a high-profile criminal case and then

 allegedly failing to, y’know, do any lawyerin’.” (Hendley Depo., p.72, ll.6-23, p.75, l.2 – p.76, l.1,

 p.114, l.11 – p.115, l.17; Exhibit 13). He also reviewed the filings in the Florida Bar proceedings,

 which were accessible through a link in the Miami New Times article (Hendley Depo., p.72, l.6 –


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 p.73, l.7, p.75, l.2 – p.76, l.1, p.83, l.3 – p.84, l.6). Those Florida Bar filings were the Formal

 Complaint, Consent Judgment, Report of Referee, and Supreme Court Order (Exhibits 14-15, 6-

 7). Defendant Hendley included in the June 18 Article a link to the Miami New Times article

 (Hendley Decl., ¶10).

           The statement in the June 18 article – “Klayman’s been in trouble with a Bar association

 before, as he was publicly reprimanded by the Florida Bar in 2011 for taking money from a client,

 and never doing any work” – was a summary of what Mr. Hendley drew from the Florida Bar

 documents and Miami New Times article (the latter of which was read by Plaintiff around the time

 it was published without complaint from Plaintiff); 4 he did not intentionally mischaracterize the

 Florida Bar documents, and he believed the statement was true at the time he wrote and published

 it (Hendley Depo., p. 78, l.15 – p.79, l.7, p.110, ll.1-22; Hendley Decl., ¶¶7-12).

           Defendant Avidor did not write or publish the September 28, February 22, or June 18

 Articles (Deposition of Kenneth S. Avidor (Exhibit 16), p.73, l.20 - p.75, l.6; Declaration of

 Kenneth Avidor (Exhibit 17), ¶¶2-3; Rupar Depo., p.58, l.17 – p.59, l.16, p.60, l.15 – p.61, l.2).

           Defendant Voice Media Group does not publish any newspapers (Declaration of Andrew

 Van De Voorde (Exhibit 18), ¶3)

           On November 26, 2013, Plaintiff sent Defendant notice, pursuant to §770.01, Florida

 Statutes, specifying the statements that he alleged to be false and defamatory (the “770 Notice”)

 [ECF No. 54-4]. Section 770.01 provides that “[b]efore any civil action is brought for publication

 . . . in a newspaper . . . of a libel . . . the plaintiff shall . . . serve notice in writing on the defendant,

 specifying the article or broadcast and the statements therein which he or she alleges to be false

 and defamatory” (emphasis added).



 4
     Deposition of Larry Klayman (Exhibit 1), p.89, l.24 – p.91, l.20.


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        With respect to the September 28 Article, the 770 Notice identified only the following

 statement: "Turns out, gays aren't the only ones capable of disturbing, criminal sexual behavior -

 - apparently even conservative straight guys tight with Bradlee Dean can turn out to be total creeps"

 (the “September 28 Statement”).

        With respect to the February 22 article, the Notice says "the defamatory statements once

 again falsely infer that I 'inappropriately touched' children    . . . ." It is unclear whether that

 statement is a reference to the title of the article, "Birther Lawyer Fighting Joe Arpaio Recall Was

 Found To Have 'Inappropriately Touched' Kids;" or the first sentence of the article: "What are the

 chances that a lawyer who was found by a court to have 'inappropriately touched' his children

 would try to stop the recall of a county sheriff whose agency failed to properly investigate more

 than 400 sex crimes?" (ECF No. 52-2)            Regardless, those statements will be referred to,

 collectively, as the “February 22 Statement.”

        With respect to the June 18 Article, the 770 Notice says “the defamatory statements

 represent and/or give the false impression that I was reprimanded “for taking money from a client,

 and never doing any work.” That is a reference to the following statement from the June 18 Article:

 “Klayman’s been in trouble with a Bar association before, as he was publicly reprimanded by the

 Florida Bar in 2011 for taking money from a client, and never doing any work” (the “June 18

 Statement”) (ECF No. 52-3).

                        II.     THE THIRD AMENDED COMPLAINT

        The Third Amended Complaint contains six counts. Count I purports to state a claim for

 defamation against Avidor, Rupar, City Pages, and Voice Media Group arising from the September

 28 Statement. Count II purports to state a claim for defamation against Hendley, Phoenix New

 Times, and Voice Media Group arising from the February 22 Statement. Count III purports to




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 state a claim for defamation arising from the June 18 Statement and, despite its title, is against

 Hendley, Phoenix New Times, and Voice Media Group. 5

        Count IV purports to state a claim for defamation by implication against Avidor, Rupar,

 City Pages, and Voice Media Group arising from the September 28 Statement. Count V purports

 to state a claim for defamation by implication against Hendley, Phoenix New Times, and Voice

 Media Group arising from the February 22 Statement. Count VI purports to state a claim for

 defamation by implication against Hendley, Phoenix New Times, and Voice Media Group arising

 from the June 18 Statement. The Court previously ruled that Counts IV through VI are limited to

 the theory that a defamatory implication was created by the alleged omission of facts. See ECF

 No. 50, pp. 11-12.

                                       III.    ARGUMENT

 A.     Summary Judgment Should Be Entered In Favor Of Voice Media Group.

        Each count purports to state a claim against Voice Media Group arising from statements

 that were published in the City Pages or Phoenix New Times newspapers. However, Voice Media

 Group does not publish any newspapers, including those two (Van De Voorde Decl., ¶¶3-4). Those

 two newspapers are published by limited liability companies who are not defendants in this action

 (Id.). Summary judgment should be entered in favor of Voice Media Group on each count.

 B.     Summary Judgment Should Be Entered In Favor Of Avidor On Counts I And IV.

        Counts I and IV are for defamation and defamation by implication, respectively, against

 Defendant Avidor arising from the September 28 Statement. Avidor did not write or publish the

 September 28 Article (or the February 22 and June 18 Articles) (Avidor Depo., p.73, l.20 - p.75,



 5
  The title of Count III says the claim is against Avidor, Rupar, and City Pages, but that ostensibly
 is an error because none of those Defendants wrote or published the June 18 Article (ECF No. 52-
 3).


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 l.6; Avidor Decl., ¶¶2-3). That means he cannot be liable for defamation because he did not publish

 the September 28 Statement and, because he did not publish the September 28 Article, he did not

 omit facts from the article. See Rapp v. Jews for Jesus, Inc., 997 So.2d 1098, 1106 (Fla. 2008)

 (publication is an element of defamation, and defamation by implication requires the defendant to

 have “create[d] a defamatory implication by omitting facts” in a publication). Summary judgment

 should be entered in favor of Defendant Avidor on Counts I and IV.

 C.     Summary Judgment Should Be Entered On All Counts Because There Is No Clear
        And Convincing Evidence Of Actual Malice.

        Plaintiff has stipulated that he is a public figure for the purposes of the First Amendment

 (Klayman Depo., p.114, l.14 – p.115, l.4). Public figures suing for defamation and defamation by

 implication are required to prove – by clear and convincing evidence – that the statements at issue

 were published with constitutional actual malice, which is a subjective standard requiring the

 defendant to have published the statements with actual knowledge of their falsity or with reckless

 disregard of the truth. See, e.g., Gertz v. Robert Welch, Inc., 418 U.S. 323, 342-43 (1974); Mile

 Marker, Inc. v. Petersen Publishing, LLC, 811 So.2d 841, 845 (Fla. 4th DCA 2002); Zorc v.

 Jordan, 765 So.2d 768, 771 (Fla. 4th DCA 2000); Palm Beach Newspapers, Inc. v. Early, 334

 So.2d 50, 51-52 (Fla. 4th DCA 1976); Garrison v. State of Louisiana, 379 U.S. 64, 73 (1964)

 ("utterances honestly believed contribute to the free interchange of ideas and the ascertainment of

 truth"); Jews for Jesus, 997 So.2d at 1108, 1111 (the “’actual malice’ standard [applicable] to suits

 by public figures against publishers” is one “of the protections of defamation law” that applies to

 claims for defamation by implication).

        "'The test of actual malice . . . focuses on the defendant's state of mind at the time of

 publication.'" See Hunt v. Liberty Lobby, 720 F.2d 631, 647 (11th Cir. 1983) (quoting Long v.

 Arcell, 618 F.2d 1145 (5th Cir. 1980)) (emphasis added); see also New York Times Co. v. Sullivan,



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 376 U.S. 254, 261-62, 286 (1964) ("The [defendant's] statement does not indicate malice at the

 time of publication . . . ."); Danwala v. Houston Lighting & Power Co., 14 F.3d 251, 255 (5th Cir.

 1993) ("The focus is on Wellborn's state of mind at the time of publication."). Summary judgment

 should be entered in favor of Defendants on every count because there is no basis by which a jury

 could find clear and convincing evidence that, at the time the time of publication, Defendants acted

 with subjective knowledge of falsity or a reckless disregard for the truth.

        1.        Applying The Actual Malice Standard At The Summary Judgment Stage.

        The Supreme Court has made clear that the requirement that actual malice be proven by

 clear and convincing evidence applies at the summary judgment stage:

   Just as the "convincing clarity" requirement is relevant in ruling on a motion for directed
   verdict, it is relevant in ruling on a motion for summary judgment. When determining if a
   genuine factual issue as to actual malice exists in a libel suit brought by a public figure, a trial
   judge must bear in mind the actual quantum and quality of proof necessary to support liability
   under [New York Times, 376 U.S. at 279-80, 585-86]. For example, there is no genuine issue
   if the evidence presented in the opposing affidavits is of insufficient caliber or quantity to allow
   a rational finder of fact to find actual malice by clear and convincing evidence.

   *    *     *

   Consequently, where the New York Times "clear and convincing" evidence requirement
   applies, the trial judge's summary judgment inquiry as to whether a genuine issue exists will
   be whether the evidence presented is such that a jury applying that evidentiary standard could
   reasonably find for either the plaintiff or the defendant. Thus, where the factual dispute
   concerns actual malice, clearly a material issue in a New York Times case, the appropriate
   summary judgment question will be whether the evidence in the record could support a
   reasonable jury finding either that the plaintiff has shown actual malice by clear and convincing
   evidence or that the plaintiff has not.

   *    *     *

   In sum, a court ruling on a motion for summary judgment must be guided by the New York
   Times "clear and convincing" evidentiary standard in determining whether a genuine issue of
   actual malice exists—that is, whether the evidence presented is such that a reasonable jury
   might find that actual malice has been shown with convincing clarity.

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254, 255-56, 257 (1986).




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        2.      There Is No Clear And Convincing Evidence Of Actual Malice.

        Counts I and IV relate to the September 28 Statement and Article. Counts II and V relate

 to the February 22 Statement and Article. Counts III and VI relate the June 18 Statement and

 Article. This section of the Motion will use those groupings in addressing why there is no clear

 and convincing evidence of actual malice.

                i.      Counts I and IV.

        Count I, for defamation, is premised upon the September 28 Statement, which was written

 and published by Defendant Rupar and said: "Turns out, gays aren't the only ones capable of

 disturbing, criminal sexual behavior -- apparently even conservative straight guys tight with

 Bradlee Dean can turn out to be total creeps." Plaintiff alleges the statement is false because it

 says he committed and was convicted of a crime (3AC, ¶26). That is not what the statement says

 and, in any event, there is no clear and convincing evidence that Defendants published the

 statement with subjective knowledge of falsity or reckless disregarded for the truth.

        Rupar believed that statement was true at the time he wrote and published it (Rupar Decl.,

 ¶6). He testified, without contradiction, that he wrote and published the statement because he

 understood the conduct described in the appellate court’s opinion – that Plaintiff was found to have

 “inappropriately touched” his children – to be “criminal” behavior (Rupar Depo., p.74, l.20 – p.76,

 l.20; p.78, l.4 – p.82, l.5). Additionally, the appellate court’s opinion – as quoted in the September

 28 Article – said that “the magistrate judge heard evidence from the children’s pediatrician who

 reported allegations of sexual abuse to children services, and from a social worker who found that

 sexual abuse was ‘indicated’” (Ex. 4, ¶25; ECF No. 52-1) (emphasis added).

        Further, such conduct is criminal in Ohio, see Ohio Rev. Code, §§2907.01(B) and 2907.06,

 and it is hard to imagine that there are any jurisdictions in which an adult inappropriately touching

 a child is not criminal behavior. See, e.g., §800.04(5), Florida Statutes. That Plaintiff was not


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 charged with or convicted of a crime does not mean that he did not engage in disturbing, criminal

 sexual behavior. He did engage in such behavior, and when given the opportunity to deny that he

 inappropriately touched his children, he invoked his Fifth Amendment rights, which means he

 believed testimony about the touching could incriminate him – all of which was stated in the

 appellate court's opinion and quoted in the September 28 Article (Ex. 4 ¶26; ECF No. 52-1).

 Summary judgment should be entered in favor of Defendants on Count I because there is no clear

 and convincing evidence of constitutional actual malice.

        Count IV is for defamation by implication arising from the September 28 Article. Plaintiff

 alleges the article creates a defamatory implication that he “inappropriately touched” his children

 because the article did not report that: the Ohio courts' orders remain subject to challenge (although

 Plaintiff does not allege how that is so in light of the fact that the Ohio Supreme Court declined to

 grant review (Ex. 5)), the magistrate was biased against him because of Plaintiff's religious views,

 Plaintiff passed a polygraph examination, and the matter was investigated by law enforcement

 agencies in Ohio (3AC, ¶50). Summary judgment must be entered in favor of Defendants on

 Count IV because there is no clear and convincing evidence that Defendants omitted anything with

 subjective knowledge that the omission created a defamatory implication or that they did so with

 reckless disregard for the truth.

        Plaintiff’s position is that Defendants defamed him by implication because they did not

 report Plaintiff’s arguments as to why he believes the Ohio courts were wrong. The bottom line,

 though, is that the Ohio courts heard and considered all of those arguments and found what they

 found, and wrote that they wrote, and the fact that Plaintiff believes the courts were wrong is of no

 consequence. As Rupar testified, he was merely reporting what was written in an opinion from an

 appellate court in Ohio, and to the extent Plaintiff believes the ruling was erroneous, that is an

 issue between him and the courts and does not change the content of the appellate court’s opinion


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 (Rupar Depo., pp. 68, l.17 – p.70, l.7, p.82, l.9 – p.83, l.18). Indeed, there is no evidence in the

 record – much less clear and convincing evidence – that Defendants were even aware of the things

 Plaintiff says were omitted from the September 28 Article.

         Additionally, and as Rupar testified, the September 28 Article – in quoting the appellate

 court’s opinion – does report Plaintiff’s denials of the allegations: “Klayman argues that the

 magistrate’s finding that he engaged in inappropriate touching of his child was against the manifest

 weight of the evidence” and “The issues raised by Klayman involve credibility assessments made

 by the magistrate. Klayman challenges these findings” (Ex. 4, ¶¶23, 25; ECF No. 52-1; Rupar

 Depo., pp. 85, l.17 – p.86, l.16). Summary judgment should be entered in favor of Defendants on

 Count IV.

                 ii.     Counts II and V.

         Count II, for defamation, is premised upon the February 22 Statement, which was written

 and published by Defendant Hendley, and said Plaintiff was found to have “inappropriately

 touched” his children. There is no clear and convincing evidence that this statement was published

 with knowledge of its supposed falsity or with reckless disregard for the truth. Indeed, it is

 impossible for such evidence to exist because, as quoted in the February 22 Article, that is exactly

 what the Ohio appellate court said: “After reviewing the record, we find no abuse of discretion on

 the part of the trial court in overruling Klayman’s objections regarding the magistrate’s finding

 that Klayman inappropriately touched the children” (Ex. 4, ¶27; ECF No. 52-2; Hendley Depo.,

 p.104, l.2 – p.105, l.17; Hendley Decl., ¶¶2-6). Summary judgment should be entered in favor of

 Defendants on Count II.

         Count V is for defamation by implication, and is premised upon the February 22 Article.

 It is substantively identical to Count IV, in that it alleges that Defendants did not report Plaintiff’s

 arguments as to why he thinks the Ohio courts were wrong, thereby creating a defamatory


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 implication that Plaintiff inappropriately touched his children (3AC, ¶56). It fails for the same

 reasons that Count IV fails.

        More specifically, there is no clear and convincing evidence that Defendants were even

 aware of Plaintiff’s arguments, much less that they omitted them from the February 22 Article

 with subjective knowledge or reckless disregard of the defamatory implication that supposedly

 would be created. The Article quoted what the Ohio appellate court said about Plaintiff’s

 challenges to the findings of inappropriate touching, the court’s rejection of those challenges, and

 the court’s conclusion: “[W]e find no abuse of discretion on the part of the trial court in overruling

 Klayman’s objections regarding the magistrate’s finding that Klayman inappropriately touched the

 children” (Ex. 4, ¶¶18-22, 23, 25, 27; Hendley Depo., p.104, l.2 – p.105, l.17). The uncontroverted

 evidence shows that Defendants published an article reporting the fact of the entry of the appellate

 court’s opinion, and what the opinion said about Plaintiff, including the court’s rejection of

 Plaintiff’s arguments challenging the finding of inappropriate touching. That Plaintiff believes

 Defendant also should have published each and every argument that he thinks exonerates him is

 not clear and convincing evidence of constitutional actual malice. Summary judgment should be

 entered in favor of defendants on Count V.

                iii.    Counts III and VI.

        Count III, for defamation, is premised upon the June 18 Statement: “Klayman’s been in

 trouble with a Bar association before, as he was publicly reprimanded by the Florida Bar in 2011

 for taking money from a client, and never doing any work.” In writing and publishing this

 statement, Defendant Hendley reviewed a prior article that was published in November 2011 in

 the Miami New Times newspaper that reported the Florida Bar proceedings and said: “The Florida

 Bar has issued a public reprimand of Klayman for taking a $25,000 payment to represent a woman

 in a high-profile criminal case and then allegedly failing to, y’know, do any lawyerin’.” (Hendley


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 Depo., p.72, ll.6-23, p.75, l.2 – p.76, l.1, p.114, l.11 – p.115, l.17; Ex. 13). Plaintiff read the Miami

 New Times article around the time it was published and, despite his litigious nature, did not

 complain about that statement (Klayman Depo., pp.89-91). Hendley also reviewed the filings in

 the Florida Bar proceedings, which were linked in the Miami New Times article (Hendley Depo.,

 p.72, l.6 – p.73, l.7, p.75, l.2 – p.76, l.1, p.83, l.3 – p.84, l.6).

         Hendley testified – without contradiction – that the June 18 Statement was his summary of

 what he drew from the Florida Bar documents and Miami New Times article, that he did not

 intentionally mischaracterize the Florida Bar documents, and that he believed the statement was

 true at the time he wrote and published it (Hendley Depo., p. 78, l.15 – p.79, l.7, p.110, ll.1-22;

 Hendley Decl., ¶¶11-12). Plaintiff is sure to argue that the Florida Bar documents show – and a

 professional journalist should have realized – that the June 18 Statement is wrong because the

 Florida Supreme Court reprimanded Plaintiff for violating a settlement agreement he made to

 resolve a former client’s complaint that he took a retainer but did not do any work, and not because

 he actually failed to do any work after taking the retainer. The law is clear, however, that a mistake

 in reporting is not clear and convincing evidence of actual malice. See, e.g., New York Times, 376

 U.S. at 271-72 (“[E]rroneous statement is inevitable in free debate . . . and must be protected if the

 freedoms of expression are to have the ‘breathing space’ that they ‘need . . . to survive.’”) (citation

 omitted); Marcone v. Penthouse International Magazine for Men, 754 F.2d 1072, 1090 (3d Cir.

 1985) (“The mistake regarding Marcone might be called unprofessional, even negligent, but it

 cannot be said to rise to the level of actual malice.”).

         The uncontroverted evidence is that the June 18 Statement was Hendley’s summary of the

 Florida Bar documents and Miami New Times article, and he believed the statement was true when

 he wrote and published it. There is no clear and convincing evidence in the record that he acted

 with constitutional actual malice, and any mistake he might have made in reporting the reason for


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 the reprimand is not clear and convincing evidence of actual malice. Summary judgment should

 be entered in favor of Defendants on Count III.

        Count VI is for defamation by implication and is premised upon the June 18 Article. It is,

 for the most part, indistinguishable from Count III. Specifically, Plaintiff alleges that the June 18

 Article defamed him by implication because it failed to report that Plaintiff’s reprimand actually

 was for breaching his settlement agreement with his former client, and instead incorrectly reported

 that the reprimand was for taking the clients money without doing any work (3AC, ¶¶59, 61-62,

 64-65). That is no different than Count III, which alleges that Plaintiff was defamed because the

 June 18 Statement incorrectly reported the reason for his reprimand, and Count VI fails for the

 reasons discussed above in connection with Count III.

        Count VI also alleges that the June 18 Article did not report that “as set forth in the public

 consent judgment that accompanied the reprimand, Natalia Humm’s [the former client] subsequent

 attorney agreed with Plaintiff. This attorney of Ms. Humm admitted that Plaintiff did not owe the

 client a refund and that he did not expect Plaintiff to make payment” (3AC, ¶60). That is not clear

 and convincing evidence of actual malice because although Ms. Humm’s subsequent counsel said

 he did not expect Plaintiff to provide a refund, it was not because the attorney agreed no refund

 was due.

        Plaintiff’s Consent Judgment with the Florida Bar recites that Plaintiff “asserts” that Ms.

 Humm’s new attorney “admitted” that no refund was due because the new attorney wrote an e-

 mail to Plaintiff saying “"[i]t is unlikely that (you) would want to refund a cent so please provide

 me with an explanation so that I may pass it along to Ms. Humm" (Exhibit 15, p.6). That is not

 an admission that no refund was due. Indeed, when Plaintiff asked Hendley about this at his

 deposition, Hendley (correctly) said the attorney’s statement did not say one way or the other

 whether Plaintiff owed the client money (Hendley Depo., p.84, l.21 – p.85, l.7). There is no clear


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 and convincing evidence that Defendants chose not to report the attorney’s “admission” with

 knowledge or reckless disregard of a supposed defamatory implication that would be created.

        Finally, Count VI alleges that “[t]he public reprimand Plaintiff agreed to with the Florida

 Bar had many mitigating circumstances including: absence of prior disciplinary record, personal

 or emotional problems, character or reputation, and remorse” (3AC, ¶63). It is unclear to what

 Plaintiff is referring because the Supreme Court’s public reprimand says, “The Court approves the

 uncontested referee’s report and reprimands respondent” (Ex. 7). There is no clear and convincing

 evidence that Defendants omitted the mitigating circumstances supposedly contained in the public

 reprimand with knowledge or reckless disregard of a supposed defamatory implication. Summary

 judgment must be entered in favor of Defendants on Count VI.

 D.     Summary Judgment Should Be Entered On Counts I and II For The Additional
        Reason That The Underlying Statements Are True.

        A claim for defamation must be premised on a false statement of fact. See Byrd v. Hustler

 Magazine, Inc., 433 So.2d 593, 595 (Fla. 4th DCA 1983) ("A false statement of fact is the sine

 qua non for recovery in a defamation action"); Johnson v. Clark, 484 F.Supp.2d 1242, 1247 (M.D.

 Fla. 2007) (quoting Byrd, 433 So.2d at 595) (same); Jews for Jesus, 997 So.2d at 1106 (falsity is

 an element of defamation).

        Count I is premised on the September 28 Statement: "Turns out, gays aren't the only ones

 capable of disturbing, criminal sexual behavior -- apparently even conservative straight guys tight

 with Bradlee Dean can turn out to be total creeps." Count II is premised on the February 22

 Statement, which says that a court found Plaintiff to have "inappropriately touched" his children.

 Plaintiff alleges that those statements are false because he "has never been found by any legal

 entity or agency to have sexually abused his children," and he has never committed or been

 convicted of a crime relating to touching his children (3AC, ¶¶12, 26-27, 32-33, 32). Summary



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 judgment should be entered in favor of Defendants because the September 28 and February 22

 Statements are true. 6

        With respect to the September 28 Statement (Count I), it does not say that Plaintiff was

 found to have sexually abused his children, nor does it say that he committed or was convicted of

 a crime. The Statement does say that Plaintiff was “capable of disturbing, criminal sexual

 behavior," but that is an accurate description of the conduct in which the magistrate and appellate

 court said he engaged. "Criminal" – as used in the September 28 Statement – accurately describes

 the behavior described and addressed by the Ohio courts; it is not an adjective describing Plaintiff

 or a pronoun substituting for his name. Indeed, such conduct is criminal in Ohio, see Ohio Rev.

 Code, §§2907.01(B) and 2907.06 (and in Florida, see §800.04(5)). Additionally, as the appellate

 court wrote – and as the September 28 Article quoted – Plaintiff invoked his Fifth Amendment

 right against self-incrimination when asked whether he inappropriately touched his children (Ex.

 4, ¶26; ECF No. 52-1). The appellate court also wrote that “the magistrate judge heard evidence

 from the children’s pediatrician who reported allegations of sexual abuse to children services, and

 from a social worker who found that sexual abuse was ‘indicated’” (Id.) (emphasis added).




 6
  In a prior Order, the Court cited decisions from Florida courts holding that the truth is a defense
 only when coupled with good motives [ECF No. 50, p. 11]. Although those decisions might apply
 when the plaintiff is a private individual (the Florida Supreme Court has noted that there is a
 question regarding “whether in a First Amendment context it can ever be actionable, whatever the
 motive, to speak the truth,” see In re: Standard Jury Instructions (Civil Cases 89-1), 575 So.2d
 194, 201 (Fla. 1991)), they are inapplicable when the plaintiff, like Plaintiff here, is a public figure
 for the purposes of New York Times. The U.S. Supreme Court has made clear that where the
 plaintiff is a public figure, there can be no liability for publishing a truthful statement even if it
 was published with, for example, an intent to injure the public figure. See Garrison, 379 U.S. at
 70-74; see id., at 73 n.8; see also Mangual v. Rotger-Sabat, 317 F.3d 45, 67 (1st Cir. 2003) (citing
 and quoting Garrison, 379 U.S. at 70-73) (“Garrison rejected any notion that the allegedly libelous
 utterance must have been published ‘with good motives and for justifiable ends.’ Later rulings
 expanded the New York Times standard to statements regarding public figures.”) (additional
 internal citation omitted).


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         With respect to the February 22 Statement (Count II), it says only that Plaintiff was found

 to have "inappropriately touched" his children. That is exactly what happened. The appellate

 court issued an opinion saying "we find no abuse of discretion on the part of the trial court in

 overruling Klayman's objections regarding the magistrate's finding that Klayman inappropriately

 touched the children" (Ex. 4, ¶27).       Additionally, to the extent Count II is premised upon a

 “republication” of the September 28 Statement (3AC, ¶¶32-33), it fails because, as just discussed,

 the September 28 Statement is true and there is no authority imposing liability for republishing

 true statements. Summary judgment should be entered in favor of Defendants on Counts I and II.

 E.      Summary Judgment Should Be Entered On Counts I, II, And III For The Additional
         Reason That The Underlying Statements Are Substantially True.

         Summary judgment is warranted on Counts I, II, and III for the additional reason that even

 if the September 28, February 22, and June 18 Statements are not "perfectly accurate," they are

 substantially true, and that is all the law requires.

         "Under the substantial truth doctrine, a statement does not have to be perfectly accurate if

 the 'gist' or the 'sting' of the statement is true." See Smith v. Cuban American National Foundation,

 731 So.2d 702, 706 (Fla. 3d DCA 1999) (citing Masson v. New Yorker Magazine, 501 U.S. 496,

 517 (1991)); see also Levan v. Capital Cities/ABC, Inc., 190 F.3d 1230, 1240 (11th Cir. 1999)

 (applying Florida law). "According to U.S. Supreme Court and Florida case law, falsity exists

 only if the publication is substantially and materially false, not just if it is technically false." See

 Smith, 731 So.2d at 707. Put another way, "[a] 'statement is not considered false unless it would

 have a different effect on the mind of the reader from that which the pleaded truth would have

 produced.'" See Id. (quoting Masson v. New Yorker Magazine, 501 U.S. 496, 517 (1991)). Thus,

 instead of requiring perfect accuracy, what Florida "'law requires is that the publication shall be

 substantially true, and that mere inaccuracies, not affecting materially the purport of the article,



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 are immaterial.'" See McCormick v. Miami Herald Publishing Co., 139 So.2d 197, 200 (Fla. 2d

 DCA 1962) (quoting 53 C.J.S. Libel and Slander §122).

        The "gist" or "sting" of the September 28 and February 22 Statements – in the context of

 the articles in which they appear 7 – is that Ohio courts found that Plaintiff inappropriately touched

 his children. That is, in fact, what those courts wrote. Plaintiff – who invoked the Fifth

 Amendment against self-incrimination rather than testify about what he did – alleges that the

 September 28 and February 22 Statements are nonetheless actionable because, by describing his

 behavior as criminal, they inaccurately state that he committed and/or was convicted of a crime

 (3AC, ¶¶26, 32-33). Putting aside the fact that the February 22 Statement says nothing about

 “criminal,” the substantial truth doctrine exists exactly for this type of situation.

        The effect on the mind of a reader of the September 28 Statement, and the article's lengthy

 quotation from the appellate court's opinion, is that Plaintiff inappropriately touched his children

 and the magistrate heard evidence that the children were sexually abused. Excluding the word

 "criminal" from the Statement – such that it would read: "Turns out, gays aren't the only ones

 capable of disturbing sexual behavior -- apparently even conservative straight guys tight with

 Bradlee Dean can turn out to be total creeps" – does not produce a different effect on the mind of

 the reader. The gist or sting remains the same: courts in Ohio found that Plaintiff inappropriately

 touched his children. 8

        Similarly, the gist or sting of the June 18 Statement is that Plaintiff was publicly

 reprimanded for violating the ethical rules governing attorney conduct. Plaintiff admits he was


 7
   In evaluating the meaning of a statement, including any defamatory meaning, the statement must
 be viewed in the totality of the publication in which it appears. See Byrd, 433 So.2d at 595; Smith,
 731 So.2d at 705.
 8
   As mentioned above in note 3, Plaintiff’s putative expert testified that a court finding that
 someone “inappropriately touched” a minor child sounds like child abuse (Madden Depo., p.75,
 l.22 – p.76, l.14, p.99, l.24 – p.101, l.2).


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 publicly reprimanded by the Florida Supreme Court for ethics violations, but claims the June 18

 Statement is nonetheless false because he was publicly reprimanded for violating an agreement

 with a former client to settle the client’s complaint that he took money without doing any work,

 and not because he failed to do any work for the client (3AC, ¶¶17-22).

        The effect on the mind of a reader of the June 18 Statement is that Plaintiff was publicly

 reprimanded by the Florida Supreme Court for ethics violations. Reporting that Plaintiff was

 reprimanded for violating an agreement with a client to settle the client’s complaint that he took

 her money but did not do any work (which he concedes is true) – instead of saying Plaintiff was

 reprimanded for not doing any work for the client (which he alleges is false) – would not have

 produced a different effect on the mind of the reader. The gist or sting remains the same: Plaintiff

 was publicly reprimanded by the Florida Supreme Court because he violated the rules of ethics.

        Finally, to the extent Counts II and III are premised upon the republication of the September

 28 Statement (3AC, ¶¶32-33, 41), they fail because the September 28 Statement is substantially

 true, and there is no authority imposing liability for the republication of a substantially true

 statement. Summary judgment should be entered in favor of Defendants on Counts I, II, and III.

 F.     Summary Judgment Should Be Entered On Counts I And II For The Additional
        Reason That The Underlying Statements Are Fair And Accurate Reports.

        "[M]any safeguards and privileges have been established throughout the years that have

 effectively balanced the right of individuals to be free from defamatory statements against the

 rights guaranteed by the First Amendment to freedom of expression." See Jews for Jesus, 997

 So.2d at 1111. One of these privileges is for fair and accurate reports of government activities and

 documents. Id.

        The press has a privilege to report on the contents of government documents, so long as

 the report of the document is fair and accurate. See Woodard v. Sunbeam Television Corp., 616



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 So.2d 501, 502 (Fla. 3d DCA 1993); Ortega v. Post-Newsweek Stations, Florida, Inc., 510 So.2d

 972, 977 (Fla. 3d DCA 1987); Huszar v. Gross, 468 So.2d 512, 515-16 (Fla. 1st DCA 1985);

 Stewart v. Sun Sentinel Co., 695 So.2d 360, 362 (Fla. 4th DCA 1997). This privilege applies even

 if the content of the documents is erroneous; and the press has no duty to determine the accuracy

 of the content before publishing fair and accurate reports of it. See Woodard, 616 So.2d at 502-

 03; Ortega, 510 So.2d at 976.

        The Ohio appellate court issued a written opinion recounting the magistrate's order and

 holding that "we find no abuse of discretion on the part of the trial court in overruling Klayman's

 objections regarding the magistrate's finding that Klayman inappropriately touched the children."

 The September 28 and February 22 Articles quote the entirety of the appellate court's discussion

 of the issue and, in doing so, are fair and accurate reports of the appellate court's opinion.

 Additionally, the September 28 Statement's description of Plaintiff being capable of "criminal"

 behavior fairly and accurately characterizes the inappropriate conduct described in the court

 orders. See, e.g.,Ohio Rev. Code, §§2907.01(B) and 2907.06. Put simply, the September 28 and

 February 22 Statements are not actionable because they are fair and accurate reports of a court

 order. Summary judgment should be entered in favor of Defendants on Counts I and II, including

 to the extent Count II is based upon republication of the September 28 Statement because there is

 no authority imposing liability for republishing fair and accurate reports of orders.

 G.     Summary Judgment Should Be Entered On Counts IV And V For The Additional
        Reason That An Omission Did Not Create An Allegedly Defamatory “Implication.”

        Counts IV and V are for defamation by implication premised upon the September 28 and

 February 22 Articles, respectively, and the Court has limited those counts to the “omission theory”

 of defamation by implication [ECF No. 50, pp.11-12]. As noted above, Plaintiff alleges that the

 September 28 and February 22 Articles omitted to report Plaintiff’s arguments as to why he



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 believes the Ohio courts were wrong, and that the omission created the false implication that he

 "sexually abused and/or inappropriately touched his two children's private parts" (3AC, ¶¶50, 56).

 Counts IV and V fail.

        To the extent Plaintiff alleges there was an implication that he "sexually abused" the

 children, any such implication was not created by an omission of facts from the September 28 and

 February 22 Statements. Instead, any such implication was created by the Ohio appellate court's

 opinion, which – as quoted in the September 28 and February 22 Articles – said the magistrate

 heard evidence from a pediatrician who reported allegations of “sexual abuse,” and from a social

 worker who said “sexual abuse was ‘indicated’” (Ex. 4, ¶25).

        To the extent Plaintiff alleges there was an implication that he inappropriately touched his

 children, there was no such implication. Instead, the appellate court expressly and directly stated

 that it was affirming the finding that Plaintiff “inappropriately touched” the children, and the

 September 28 and February 22 Articles expressly and directly repeat what the appellate court

 wrote. Defendants are not aware of any decisions in which a plaintiff has been permitted to assert

 a claim for defamation by implication arising from express and direct statements in a publication.

 Indeed, a claim that express and direct statements are false and defamatory is a claim for

 defamation and, as discussed above, Plaintiff has no claim for defamation arising from the express

 and direct statements in the September 28 and February 22 articles that Plaintiff was found to have

 inappropriately touched his children. Summary judgment should be entered in favor of Defendants

 on Counts IV and V, including to the extent that Count V is premised upon a republication of the

 September 28 statement in the February 22 article.




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 H.     Summary Judgment Should Be Entered On Counts IV Through VI For The
        Additional Reason That Any Implication Is Substantially True.

        Counts IV through VI are for defamation by implication, and are premised upon the

 September 28, February 22, and June 18 Articles, respectively. As addressed in greater detail

 above (III.E), the law does not require perfect accuracy; instead, all that is required is substantial

 truth. See Smith, 731 So.2d at 706-07; McCormick, 139 So.2d at 200. The substantial truth

 doctrine applies to defamation by implication because it is one of the “protections of defamation

 law.” See Jews for Jesus, 997 So.2d at 1108. As also addressed above, any “implication” that

 Plaintiff was found to have inappropriately touched his children, or that he was reprimanded by

 the Florida Supreme Court for ethics violations, as alleged in paragraphs 50, 56, and 65, is

 substantially true. Summary judgment should be entered in favor of Defendants on Counts IV

 through VI, including to the extent that Counts V and VI are premised upon a republication of the

 September 28 Article because there is no authority imposing liability for republishing substantially

 true statements.

 I.     Summary Judgment Should Be Entered On Counts IV And V For The Additional
        Reason That The Underlying Articles Are Fair And Accurate Reports.

        The privilege for fair and accurate reports applies to claims for defamation by implication.

 See Jews for Jesus, 997 So.2d at 1108, 1111. Counts IV and V, for defamation by implication, are

 premised on the September 28 and February 22 Articles, respectively. As discussed in greater

 detail above (III.F), Defendants have a privilege to publish fair and accurate reports of court orders.

 The September 28 and February 22 Articles – which reprint the entirety of the appellate court’s

 discussion of inappropriate touching – are fair and accurate reports of government documents,

 which means any implication arising from the articles was created by the court’s opinion, and not

 the articles. Summary judgment should be entered in favor of Defendants on Counts IV and V,

 including to the extent that Count V is premised upon a republication of the September 28 Article


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 because there is no authority imposing liability for republishing fair and accurate reports of court

 orders.

 J.        Summary Judgment Is Warranted On All Counts Because Plaintiff Is Libel-Proof.

           Each count seeks recovery for alleged injuries to Plaintiff’s reputation in the professional

 communities in which he works as a lawyer, author, writer, and columnist (3AC, ¶¶27-29, 35-37,

 45-47, 51, 57, 68-69). Plaintiff’s reputation, however, was so awful prior to the publication of the

 September 28, February 22, and June 18 Statements that he was “libel-proof,” which means that

 his reputation was incapable of being further injured by publication of those statements. See, e.g.,

 Guccione v. Hustler Magazine, Inc., 800 F.2d 298, 303 (2d Cir. 1986); Lamb v. Rizzo, 391 F.3d

 1133, 1137-39 & n.4 (10th Cir. 2004) (collecting decisions).

           Here, before any of the statements at issue were published, courts across the country had

 published orders detailing the unprofessional and unethical behavior that has come to define

 Plaintiff’s “reputation.” See, e.g., Stern v. Burkle, 2007 WL 2815139 (N.Y. Sup. Ct. Sept. 6, 2007)

 (denying application for admission pro hac vice) (collecting decisions relating to Plaintiff) (“Mr.

 Klayman’s record demonstrates more than an occasional lapse of judgment, it evinces a total

 disregard for the judicial process.”); Klayman v. Judicial Watch, Inc., 802 F.Supp.2d 137, 150-51

 (D.D.C. 2011) (“Based upon its years of experience with this litigation, and having witnessed

 firsthand Klayman’s long and established pattern of openly disobeying court orders, the Court

 finds that a severe sanction is necessary to protect the integrity of the judicial system and to deter

 similar misconduct in the future. As previously mentioned, Klayman’s conduct rises to a level and

 pattern of intransigence that is not often witnessed.”); MacDraw, Inc. v. CIT Group Equipment

 Financing, Inc., 994 F.Supp. 447, 460 (S.D.N.Y. 1997) aff’d 138 F.3d 33 (2d Cir. 1998) (noting

 Plaintiff has “a history of this type of conduct” and holding that Plaintiff’s “conduct has degraded

 the legal profession and disserved justice.”); MacDraw, Inc. v. CIT Group Equipment Financing,


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 Inc., 73 F.3d 1253, 1262 (2d Cir. 1996) (“[W]e note our sympathy with the district court’s

 frustration; in pursuing this appeal, plaintiff’s counsel submitted briefs that included inaccurate

 characterizations of the record and comments that we consider entirely inappropriate.”); Material

 Suppl Lint’l, Inc. v. Sunmatch Industrial Co., Ltd., 1997 WL 243223 at *8 n.17 (D.D.C. 1997)

 (“The record will speak for itself, but it behooves the court to observe that from pretrial through

 post trial proceedings, Mr. Klayman’s performance was episodically blighted by rude and

 unprofessional behavior which was directed towards the presiding judge and opposing counsel.”);

 Wire Rope Importers’ Association v. United States, 1994 WL 235620 at *7 (Ct. Int’l Trade May

 26, 1994) (imposing sanctions); Baldwin Hardware Corp. v. Franksu Enterprise Corp., 78 F.3d

 550, 562 (Fed. Cir. 1996) (affirming order imposing sanctions) (stating the trial court’s “order

 makes clear that the trial judge considered Mr. Klayman to have acted in bad faith, in particular

 by making certain representations to the court.”); Alexander v. Federal Bureau of Investigation,

 186 F.R.D. 188, 190 (D.D.C. 1999) (addressing Plaintiff’s abuse of discovery sanctions for making

 misrepresentations to the court); Judicial Watch of Florida, Inc. v. U.S. Dep’t of Justice, 159

 F.Supp.2d 763, 764 (D.D.C. 2001) (describing Plaintiff’s filing as “forked-tongue”).

        As this shows, Plaintiff’s reputation was so poor prior to the publication of the statements

 at issue that it is impossible for them to have injured Plaintiff’s reputation, especially the June 13

 Statement relating to Plaintiff’s reprimand from the Florida Supreme Court. Summary judgment

 should be entered in favor of Defendants on all counts because he is libel-proof.

                                       IV.     CONCLUSION

        For these reasons, summary judgment should be entered in favor of Defendants on each

 count of the Third Amended Complaint.




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 20th day of October 2014, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF System.

                                           /s/ Scott D. Ponce

        #32996143_v1




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